                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION
    UNITED STATES OF AMERICA,                              §
                                                           §
             Plaintiff,                                    §
                                                           §
    v.                                                     §      Case No. 1:21-cv-00796-RP
                                                           §
    THE STATE OF TEXAS,                                    §
                                                           §
             Defendant.                                    §

                          TEXAS’S MOTION FOR IN-PERSON HEARING

         The Court has set a hearing in the above-captioned case for October 1, 2021. ECF 12. The

hearing is currently set for hearing via Zoom. The State of Texas (State) respectfully requests the

opportunity to appear in person to present argument and evidence. Counsel for the State have

conferred with plaintiff’s counsel, and plaintiff’s counsel indicated they take no position on the State’s

request. 1

         The Court should grant this request for at least two reasons. First, the issues with Zoom

presentations have been well-documented during the pandemic and include issues hearing the

proceedings, disadvantages associated with the digital capabilities and resources of the respective

parties, the increased work for Court staff, and issues with decorum and formality. See, e.g., Judge

Alfonso Charles, Judge Ana Estevez, Judge David Evans, and Judge Missy Medary, “To Zoom Or

Not To Zoom,” 94 Advoctx 30, Spring 2021. Those issues can be alleviated completely by holding

the October 1, 2021, hearing in person.

         Second, given the complexity and novelty of the issues at play in this litigation, the presentation

will benefit from an in-person hearing. The hearing will be more efficient if the parties can


1The State’s counsel have also conferred with counsel for putative intervenors Erick Graham, Jeff Tuley, and Mistie Sharp
about the substance of this motions. Counsel for the putative intervenors indicated they are unopposed to that request.




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communicate clearly and directly with the Court and can present argument and evidence without any

hurdles caused by operating through a virtual medium.

        The State does recognize that health and safety concerns exist because of COVID-19. While

serious, those concerns are generalized and not specific to any party to this litigation. In fact, City and

County leaders have recently reported that Austin and Travis County are within the threshold to

reduce the current COVID-19 restrictions within the area. See Grace Reader, Austin-Travis County Hits

Threshold For Stage-4 Guidelines (Sept. 21, 2021), available at https://www.kxan.com/news/coronavirus/austin-

travis-county-hits-threshold-for-stage-4-guidelines/(last visited Sept. 27, 2021). The generalized concerns over

COVID-19 do not outweigh the benefits of conducting these proceedings in-person on October 1,

2021.

                                                 Conclusion

        Holding this hearing in person will eliminate the well-documented downside risks of

conducting litigation by computer, it will benefit the Court through a more efficient hearing, and lastly,

the generalized risk of COVID-19, as demonstrated by recent trends in the County, are waning and

pose no specific, identified risks. Accordingly, the State of Texas respectfully moves the Court to enter

an order allowing parties to attend the October 1, 2021, hearing in-person, if they elect that option.




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Date: September 27, 2021           Respectfully submitted.

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                                   COUNSEL FOR DEFENDANT




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                                  CERTIFICATE OF CONFERENCE

       I certify that the parties conferred on Friday, September 24, 2021, via electronic mail with
counsel for the plaintiff, who indicated that they take no position on the relief requested through this
motion.

                                               /s/ Eric A. Hudson


                                   CERTIFICATE OF SERVICE
     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on September 27, 2021, and that all counsel of record were served by CM/ECF.

                                               /s/ Eric A. Hudson




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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
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                                                  §
         Plaintiff,                               §
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 v.                                               §    Case No. 1:21-cv-00796-RP
                                                  §
 THE STATE OF TEXAS,                              §
                                                  §
         Defendant.                               §

      ORDER PERMITTING WITHDRAW OF TEXAS’S MOTION TO CONDUCT
                       EXPEDITED DISCOVERY

       Upon consideration of Texas’s Motion for In-Person Hearing, and the representations made in

support thereof, the Court finds as follows:

       Good cause exists to permit Texas’s request and therefore, it is ORDERED, ADJUDGED,

and DECREED, that any party may choose to appear in person before the Court on October 1, 2021.

       Signed on September ____, 2021, at Austin, Texas.




                                               Robert Pitman
                                               United States District Judge
